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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
         V.                                ) CRIMINAL CASE NO: 1:21-CR-00564
                                           )
MATTHEW DASILVA,                           ) SENTENCING: OCTOBER 25, 2023
                                           )
     DEFENDANT.                            )
__________________________________________)


        DEFENDANT’S SENTENCING MEMORANDUM
———————————————————————————————————————

       Matthew DaSilva is a 51-year-old veteran, husband, and Good Samaritan who resides in

Collin County, Texas, a suburb in the Dallas area.

       Mr. DaSilva was found guilty of six charges related to his participation in the January 6

protest outside of the Capitol Building following a bench trial, which included two felony

offenses — civil disorder and assault on law enforcement with physical contact — in addition to

three misdemeanors and one petty offense. The facts at trial showed that Mr. DaSilva walked up

to officers securing the Capitol Building tunnel and pushed both of his hands against a clear

plastic shield being held by two of the officers. As one of the officers was spraying pepper spray

toward or near Mr. DaSilva, their hands made contact. No officer was injured in this case.

Matthew was acquitted of possessing the intent to commit another felony during the commission

of an assault on a law enforcement officer, and he was acquitted of a misdemeanor disorderly

conduct charge. Prior to being convicted for his conduct on January 6, Mr. DaSilva had a

completely clean record.



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        For an entire year prior to his trial, Mr. DaSilva, on his own volition, consistently

attended behavioral therapy sessions during which he addressed emotional regulation and

worked on rehabilitating his behavioral responses to emotional events. See Defense Exhibit 1.

Prior to January 6, Mr. DaSilva spent his free time helping to care for his elderly neighbor and

his wife’s elderly sister.

        Considering the defendant’s age, character, clean record, extensive efforts at post-offense

rehabilitation, and the lack of injury or property damage resulting from Mr. DaSilva’s conduct —

as well as the sentences from other similar cases — a sentence of 3 months of incarceration is a

fair penalty — time which has already been served as imprisonment. This is an appropriate

penalty that is consistent with other January 6 shield-pushing case dispositions, especially for a

defendant highly unlikely to re-offend and is sufficient, but not greater than necessary, to comply

with the purposes set forth in 18 U.S.C. § 3553(a).

        The defendant submits the foregoing memorandum of fact and law to substantiate his

argument regarding the appropriateness of this sentence recommendation and downward

departure from the applicable Sentencing Guidelines Range of 12-18 months under base offense

U.S.S.G. §2A2.4 (or §2A2.3, both of which produce the same final recommendation).




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       I. MATTHEW DASILVA, A VETERAN AND A GOOD SAMARITAN
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       Matthew DaSilva is 51 years old. He was born in Michigan. Matthew had a troubling,

tumultuous, and impoverished upbringing, the details of which Mr. DaSilva will keep out of

public pleadings out of respect for his family. The defense will rely on the court’s review of the

PSR for further details on his childhood.

       Mr. DaSilva graduated from the University of Wisconsin-Madison in 1997

with a major in Japanese. He worked as a linguist, fluent in English, Japanese, and

Mandarin Chinese.

       In 1993, while an exchange student living in Japan, he met Christina, who

would later become his wife. The couple has struggled for many years to conceive children. The

fact that he has been unable to become a father has caused Mr. DaSilva great pain. Matthew and

Christina nonetheless remain a very strong and loving couple.

       His wife describes Matthew as kind and gentle, someone who is

beloved by everyone. In his spare time, he likes to cook, preparing full

meals for family and friends. He helps his wife with cleaning and

maintaining their home; the two live in a genuine partnership. During

his trial, Matthew would call Christina at every break.

       In response to the attack on our nation on September 11, 2001, Mr. DaSilva enlisted in

the military. He served for 12 years in the Navy as a cryptologic technician interpreter, among

other roles, before being honorably discharged. He received the following commendations: Joint

Service Commendation Medal, Navy/Marine Corps Achievement Medal, Navy Unit


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Commendation, Good Conduct Medals, National Defense Service Medal, Global War on

Terrorism Medal, Letter of Commendation Flag, Letter of Appreciation, and Electronic

Information Dominance Warfare Insignia. See Defense Exhibit 2. In 2003, a General in the office

of the Chief of Staff of the United States Army personally congratulated Mr. DaSilva for

representing the military and beating out Ivy League graduates in a prestigious Mandarin

Chinese linguistics competition held at Breklely.

       One day in 2005, when he was deployed abroad in the Pacific, Matthew DaSilva was on

his way to the airport when he passed by a boy whom he saw bleeding profusely. In his own

words, Matt retold the story as such: “I saw a kid with the biggest gash in his bare foot. I

recognized that the bleeding was serious, so I threw him into my car and had him direct me to his

house. We pulled up, the parents came rushing outside, and I quickly explained the wound

needed constant pressure.” Matt is humble. His commanding officer provided more details. See

Defense Exhibit 3. Using his “own shirt as

a bandage” Matthew DaSilva “took

action and rendered first aid” before

driving the boy home. Matthew DaSilva is

the embodiment of the kind of person

who will give you the shirt off his back

when you need it — a rarity in today’s

modern world. “The act of defending any

of the cardinal virtues has today all the

exhilaration of a vice,” Matthew responded


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to his counsel when asked what was going through his mind when he did it, quoting G.K.

Chesterton. He finds the feeling of being a good person fulfilling, he later explained. Matthew

isn’t interested in seeking credit for his good deeds, however. His attorney had to pry details out

of him for purposes of composing this memorandum.

       Matthew is a devout Catholic, having converted two decades ago. Upon his conversion,

he became an active member of the Knights of Columbus, a Catholic charity organization.

Matthew then became a founding member of and went on to launch the Knights at Holy Family

Church in Honolulu, which still operates today. After it launched, Matthew also volunteered with

administrative tasks and acted as the recorder at meetings.

       In his spare time these days, Matthew takes care of his wife’s elderly sister and his

elderly neighbor. He drives the neighbor, who has cancer, to medical appointments and to the

grocery store, as well as running errands for him— once driving the grateful man to a medical

appointment at 4 a.m. Matthew always cares for and makes time for others. A genuinely humble

man, he did not discuss these incredible acts of kindness with his attorney— the information was

learned through his wife and neighbor. See Defense Exhibits 4 and 5.

       Mr. DaSilva has always been interested in politics and spirituality. He was a supporter of

Al Gore when Gore ran on a platform opposing war. After he discovered Catholicism and

converted, Matthew became interested in politicians who opposed abortion. He has attended

various pro-life rallies throughout the years. When Trump became the Republican nominee in

2016 opposing both war and abortion, he was a perfectly matched candidate for Mr. DaSilva. His

support of Donald Trump continued through the 2020 election, which led to Matthew DaSilva

attending the protest in support of Trump on January 6, 2021.


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                II. JANUARY 6TH
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       On January 6, 2021, Matthew DaSilva attended the political protest alone, without his

wife. After listening to Donald Trump’s speech, he walked with the crowd towards the Capitol.

       Getting carried away with the spirit of the protest, Mr. DaSilva did things he had never

done before and could never again imagine himself doing — he held closed a door to the Capitol

Building, approached a line of officers and pushed against a police shield, and he remained in a

crowd that was being gassed with irritants. He never intended to hurt or injure anyone. Matthew

cannot really explain what was happening around him or in his mind at the time other than

saying “chaos” — nor could he explain why it made sense to him at the time to do any of the

things he did in those moments.

       In an attempt to explain what happened on January 6, 2021, Mr. DaSilva made the

following statement:

       I never intended to hurt any officer. My intention was not to inflict any kind of harm.

       I was saying things I couldn’t put together. The things that I saw that day just didn’t add
       up to me. I wasn’t thinking clearly, and I couldn’t explain to you what I did and why I did
       it. I am an introvert, and I am easily overpowered by a lot of stimuli. I was definitely
       overstimulated at that moment. I had a very difficult time processing that day. I have a
       very difficult time with a lot of noise. There was a lot of noise and chaos. I don’t have an
       explanation for why I stayed there. I came there alone and I trusted the crowd, people I
       didn’t know.

       I will never again participate in any protest that does not have a clear leader and a clear
       itinerary that I know is legal. I have been to many pro-life protests and I have never done
       anything I regretted at a protest, until this one. I have never even interacted with counter-
       protesters.

       I regret interacting with the officers in the manner that I did. I respect police
       officers. Obviously, if I could do this all over again, I would not have remained in that


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       chaos, and I wouldn’t have interacted with the officers. I would have just gone home. It’s
       a hard lesson. I deeply regret putting my hands on that shield.

       The man that you saw in that video is not who I am and not who I want to be. I spent my
       life being a good person and doing charity work. That is who I am.

       I have been engaging in self-improvement and introspection since that day and I have
       been in behavioral therapy for a year now. What happened that day will not happen
       again.


       After the protest, Mr. DaSilva flew back home. His wife tells the story of how he fell into

her arms when he saw her, crying. See Defense Exhibit 5. “Matthew said he deeply regretted

putting his hands on a police shield,” Christina explained. Matthew DaSilva didn’t like who he

was at the protest or what he did there. He quickly decided to turn his life around. He cut his hair

and shaved his untamed facial hair. Matthew and his wife started spending more time together,

concentrating on more of the important parts of life.

       He eventually realized that he needed professional help to continue his transformation.

He started attending behavioral therapy counseling. Matthew has devoted a substantial amount of

time to self-repair, attending counseling sessions regularly for the course of a year prior to being

ordered into incarceration. See Defense Exhibit 1. During the therapy sessions, Matthew

addressed emotional regulation and worked on rehabilitating his behavioral responses to

emotional events. According to Dr. Michael Lynch, who conducted a neuropsychological

assessment of Mr. DaSilva in February of 2022, before the behavioral therapy began, and then

again just a few weeks before sentencing in October 2023— Mr. DaSilva greatly benefitted from

the behavioral therapy and Dr. Lynch is optimistic about Mr. DaSilva’s progress. See Defense




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Exhibit 6. The same sentiment was conveyed by Mr. DaSilva’s behavioral therapy counselor in

Defense Exhibit 1.

        Moreover, Mr. DaSilva asked his counsel early on to reach out to the Government to

work out a plea deal so that he could take

responsibility for his actions. The plea

discussions were unfruitful because the

DOJ offers were incongruent with his

conduct and included penalties for things

he did not do, and so Mr. DaSilva was left

with no choice but to proceed to trial.

Each plea offer from the Government

required Mr. DaSilva to admit that he

possessed the intent to commit another

felony as he interacted with the officers

holding the shield — an intent Mr.

DaSilva did not have and could not admit

to having. See discussion in Section V,

infra. In line with the lack of evidence and

the lack of actual intent to commit another

felony, Mr. DaSilva was acquitted of

possessing such intent in his trial verdict.




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             III. SENTENCING GUIDELINES
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         As then-Judge Gorsuch once stated: the purpose of sentencing is to “wisely weigh things

that cannot be easily weighed.” United States v. Sabillon-Umana, 772 F. 3d 1328, 1330 (10th Cir.

2014).

         How much punishment is enough to protect the public? To deter future wrongdoing? To
         reflect the gravity of the offense? And how much punishment suffices to accomplish all
         these things without verging on cold revenge or needless retribution? …our system
         depends, as perhaps it must, on the discretion of thoughtful judges.
Id.

         The first step of this monumental task is to determine the applicable advisory Sentencing

Guidelines. Gall v. United States, 128 S.Ct. 586, 590 (2007) (“Guidelines are the starting point

and initial benchmark but are not the only consideration”). From there, a judge must “tailor every

sentence to the case and defendant at hand.” Sabillon-Umana, 772 F. 3d at 1330. A judge “may

not presume that the Guidelines range is reasonable but must make an individualized assessment

based on the facts presented.” Gall, 128 S. Ct. at 597. The judge must carefully weigh each of the

§ 3553(a) factors to determine whether they support the sentence argued for by each party. Id. at

596-97. The final sentence ordered by the Court “must… promote the perception of fair

sentencing.” Id. at 597.



A) Applicable Guidelines

         Mr. DaSilva was convicted of two felony counts: assault on law enforcement with

physical contact under 18 U.S.C. §111(a) and civil disorder under 18 U.S.C. § 231(a)(3), in

addition to three misdemeanors and one petty offense, for the same conduct.


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         Per defense review of the Sentencing Guidelines, there are two potentially applicable

guidelines in this case.1 2 Both produce the same Sentencing Recommendation under the

Guidelines — Offense Level 13, Category I — a 12 to 18 month sentence in Zone C.

           • Option 1: U.S.S.G. § 2A2.3 guides sentencing for a conviction under 18 U.S.C.
             §111(a). The base offense level is 7 when the conduct includes physical contact. If the
             victim was a government officer, the offense of conviction was motivated by such
             status, and the offense was against a person, there is a 6-point increase under
             U.S.S.G. § 3A1.2— bringing the defendant’s Guideline under § 2A2.3 to 13.

           • Option 2: U.S.S.G. § 2A2.4 guides sentencing for a conviction under 18 U.S.C. §
             231(a)(3). The base offense level under § 2A2.4 is 10, and if the offense involves
             physical contact, there is a 3-point increase. Thus, the defendant’s Guideline under §
             2A2.4 is also 13.

         Regardless of how the start of the applicable Offense Level is computed, the math comes

out to 13.

         An Offense Level of 13 for a first-time offender yields a Zone C, 12-18 month sentence.3

         Pursuant to U.S.S.G. § 5C1.1(d), a Zone C penalty can be served as community

confinement or home detention for half of the sentence.

         This Court can nonetheless give Mr. DaSilva a 2-level downward adjustment for

acceptance of responsibility under U.S.S.G. § 3E1.1 — which permits a reduction in offense

level “if the defendant clearly demonstrates a recognition and affirmative acceptance of personal

responsibility for his criminal conduct.” Note 2 to § 3E1.1 states, "a defendant may clearly

1 The Government believes that the applicable Guideline is U.S.S.G. § 2A2.2. The Defense addresses the argument
in opposition to the Government in a separate memorandum, in the Defendant’s Motion for Resolution of Disputed
Sentencing Factor, ECF No. 107.
2 Objection to PSR calculations: a final Pre Sentence Report (“PSR”) noting the Defense objections has not been
filed by the probation office. While the defense asks this Court to review the portions of the draft PSR, ECF No.
104, with respect to Defendant’s background and character, we ask that the calculations of the draft PSR be
disregarded as improperly calculated, see ECF No. 105.
3 See also Objections to PSR, ECF No. 105. The PSR’s calculations are based on improper Guideline U.S.S.G. §
2A2.2 and the improper separation of Ofc. Sterling from the other officers into his own separate group.

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demonstrate an acceptance of responsibility for his criminal conduct even though he exercises

his constitutional right to a trial.” Mr. DaSilva’s significant pretrial self-rehabilitation measures

and pretrial attempts to plead guilty, as well as a lack of opportunity/offer to enter into a pretrial

plea to a non-aggravated offense, qualifies Mr. DaSilva for this Court’s consideration of the

application of an acceptance of responsibility credit pursuant to U.S.S.G. § 3E1.1. See United

States v. Harrington, 947 F.2d 956 (D.C. Cir. 1991) (holding that post-offense but pretrial

rehabilitation effort may justify a two-level reduction for acceptance of responsibility under

U.S.S.G. § 3E1.1). See pages 42-43, infra.

       The Sentencing Guidelines at all times “are advisory only.” Kimbrough v. United States,

128 S. Ct. 558, 564 (2007). Instead, it is 18 U.S.C. § 3553(a) that directs Sentencing in Federal

Courts. Id. at 575. Section 3553(a) provides the Courts with an “overarching instruction to

‘impose a sentence sufficient, but not greater than necessary’ to accomplish the sentencing goals

advanced in § 3553(a)(2).” Id. Most importantly, “§ 3553(a)(3) directs the judge to consider

sentences other than imprisonment,” even when the Guidelines recommend imprisonment.

Gall v. United States, 128 S. Ct. 586, 602 (2007).



B) § 3553(a) Sentencing Factors:

       The seven factors for this court to consider under 18 U.S.C. § 3553(a) are:

       (1) the nature and circumstances of the offense and the history and characteristics of the
       defendant, [discussed in Sections I and II]

       (2) the need for the sentence imposed to reflect the four primary purposes of sentencing,
       i.e., retribution, deterrence, incapacitation, and rehabilitation, [discussed in Section IV]




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       (3) the kinds of sentences available [see Gall v. United States, 128 S. Ct. 586, 602 (2007)
       (a sentencing judge must consider sentences other than imprisonment)], [discussed in
       Section III]

       (4) the sentencing range established through the application of the sentencing guidelines
       and the types of sentences available under the guidelines, [discussed in Section III]

       (5) any relevant “policy statements” promulgated by the Sentencing Commission,
       [discussed in Motion for Resolution of Disputed Sentencing Factors]

       (6) the need to avoid unwarranted sentencing disparities among defendants with similar
       records who have been found guilty of similar conduct, and, [discussed in Section V]

       (7) the need to provide restitution to any victims of the offense. [discussed in Section IV]



C) Sentencing Limitations

       While the sentencing court has discretion over imposing an appropriate penalty, Congress

has placed limits. This court’s ability to impose an available penalty is limited by 18 U.S.C. §§

3551 and 3561(a)(3). See United States v. Little, Case No. 22-3018 (D.C. Cir. Aug. 18, 2023);

United States v. Martin, 363 F.3d 25, 35 (1st Cir. 2004) (“both § 3551(b) and § 3561 require a

district court to choose between probation and imprisonment when imposing its original

sentence”). This court only has the power to impose (1) a term of probation, (2) a fine as

authorized, or (3) a term of imprisonment. “Probation and imprisonment are alternative

sentences that cannot generally be combined.” United States v. Little, Case No. 22-3018 (D.C.

Cir. Aug. 18, 2023). An exception is carved out in 18 U.S.C. § 3551 for a fine — a fine is

explicitly permitted to be tacked to another penalty. No other tacking or conjunctive exceptions

are noted in the Code.




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       Supervised release is the Code’s exclusive form of post-confinement monitoring and may

only be ordered if a defendant is sentenced to a term of imprisonment. See 18 U.S.C. §3583;

United States v. Little, Case No. 22-3018 (D.C. Cir. Aug. 18, 2023). Supervised release

conditions are subject to the mandatory and discretionary conditions outlined by Congress in 18

U.S.C. §3583.

       The probationary conditions that this Court may order in lieu of incarceration are limited

to the mandatory and discretionary conditions outlined in 18 U.S.C. § 3563. Imposition of a

discretionary condition must be “reasonably related to the factors set forth in section 3553(a)(1)

and (a)(2) and to the extent that such conditions involve only such deprivations of liberty or

property as are reasonably necessary for the purposes indicated in section 3553(a)(2).” See 18

U.S.C. § 3563(b).

       Additional limitations on the imposition of a penalty include the underlying justification

for the penalty. For example, a term of imprisonment cannot be imposed or lengthened for

rehabilitative purposes, see 18 U.S.C. § 3582(a) and 28 U.S.C. § 994(k); and, a sentence upon

revocation of supervised release cannot be imposed for retributive purposes, see 18 U.S.C. §

3583(e). See also Tapia v. United States, 131 S.Ct. 2382 (2011).

       An appropriate sentence is defined as “sufficient, but not greater than necessary, to

comply with the purposes set forth in [18 U.S.C. § 3553(a)(2)].” See 18 U.S.C. § 3553.

Moreover, any sentence imposed by this Court is limited by the Eighth Amendment’s restrictions

on excessive fines and cruel and unusual punishment.




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          IV. Incapacitation, Rehabilitation, Retribution, Restitution, and Deterrence

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(A)      Specific deterrence for this 51-year-old Catholic man has been achieved through the

humiliation of an arrest, extensive pretrial supervision with conditions lasting for a period of

over 2 years, the process of being publicly shamed in the media for his conduct, a public trial

during which he has been found guilty, a permanently marred criminal record, as well as having

been incarcerated for a period of 3 months leading up to sentencing.

        The reality is that Mr. DaSilva regretted his participation immediately. But the experience

of being arrested, going through court appearances in two federal jurisdictions, conferences with

counsel, public shaming in the media and on social media, constant contact with a probation

officer — and federal criminal prosecution in and of itself — followed by a conviction and

incarceration has made it crystal clear to Mr. DaSilva that the First Amendment freedom of

expression and freedom to protest is not without limitation. The defendant has come to a solid

and permanent understanding of the bounds of getting carried away with a crowd.

        Moreover, as a first-time offender, this defendant has the lowest likelihood to re-offend,

according to the U.S. Sentencing Commission’s research on the recidivism of federal offenders.4

        Further efforts to deter this defendant are simply unnecessary.




4 Recidivism of Federal Offenders Released in 2010, U.S. SENTENCING COMMISSION (Sep. 30, 2021), https://
www.ussc.gov/research/research-reports/recidivism-federal-offenders-released-2010.

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(B)     Rehabilitation in this case has been achieved through Mr. DaSilva’s voluntary

engagement in behavioral therapy sessions for the duration of one year leading up to the trial.

See Defense Exhibit 1.

       Mr. DaSilva voluntarily engaged the services of a professional counselor to work on

addressing his mental health and behavioral responses, which he believes played a role in his

decision to engage in conduct otherwise unbecoming of his character on January 6. Matthew

engaged in both Cognitive Behavioral Therapy and Person-centered Therapy to hone his

emotional regulations and make adjustments. The therapist saw progress, writing that, “he gained

in self-awareness, emotional regulation skills and insight into how not all behavior is productive

or useful to gain what he seeks. He also increased his awareness of his emotional challenges and

identified ways to question his thinking and make adjustments.” See Defense Exhibit 1. Mr.

DaSilva’s rehabilitation efforts lasted for one year until he was imprisoned following the verdict.



(C)    In addition to the deterrent effect, pretrial supervision has already served an

incapacitative effect on Mr. DaSilva, a first-time offender. And, additionally, he has been

incarcerated for 3 months leading up to sentencing.

       Mr. DaSilva has been on pretrial supervision with restrictions from this court for the

duration of 2 years, a significant period of pretrial supervision. He has remained perfectly

compliant with his restrictions. Pretrial services have served as an effective mode of supervision

and incapacitation for this defendant, rendering additional incapacitation unwarranted. On top of

that, he turned himself in as this Court had ordered upon conviction and has served 3 months in

jail without causing any problems.


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        Additional incapacitation is not necessary for this defendant, but if ordered, should be

served as home confinement or community confinement. There is no justification to order Mr.

DaSilva to more than time served as imprisonment.



(D)     Restitution is not a significant issue in this case as Mr. DaSilva has offered to prepay

some restitution, even though he did not individually damage or destroy any property at the

Capitol. Due to his participation, Mr. DaSilva feels a sense of responsibility to assist in paying

for the cleanup of the Capitol Grounds. Mr. DaSilva even attempted to prepay $500 in restitution

at the Clerk’s Office and filed a motion to allow prepayment of restitution upon his conviction.



(E)     In observing the arrests, pretrial restrictions and confinements, and relentless prosecution

of January 6 participants through the meticulous reporting of the mainstream media, the public

has been provided with more than sufficient general deterrence. Hundreds of thousands of news

articles have been published about the arrests and prosecutions of January 6 defendants and

numerous congressional hearings related to January 6 have taken place. Donald Trump himself

has been indicted for his role in the events of January 6. On top of that, the DOJ has created

unique public-shaming web pages for every January 6 defendant, a digital version of tar and

feathering.5 The public has been put on clear notice that transgressions against the Capitol or the

operation of the Federal Government will not be tolerated.

        Conservatives and Trump supporters have been uniquely deterred as political groups—

having grown genuinely frightened by engaging in any protest against the Government, a much

5 Mr. DaSilva’s devoted DOJ web page can be found here: https://www.justice.gov/usao-dc/defendants/DaSilva-
Matthew.

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deeper (and more troubling) general deterrence than is called for by penal law. For example,

when a protest was organized in support of improving detention conditions for January 6

arrestees in September of 2021, only about 100 people arrived to protest, with police and media

vastly outnumbering the protesters.6 When Donald Trump was called into this courthouse for his

initial appearance in August of 2023, protesters were difficult to find.7 “[O]nly around a dozen

supporters of the former president were outside the courthouse,” reported Politico.8

        Other political groups have also been deterred from staging protests by the January 6

arrests. The Virginia militia chapter leader of the “Boogaloo” movement (A.K.A. “Virginia

Knights” and “Last Sons of Liberty”) stated in a recorded video interview on August 18, 2023: “I

haven’t done any protests since January 6, 2021.”9

        Accordingly, the DOJ has already achieved general deterrence through its unprecedented,

unyielding prosecution of all defendants, no matter the magnitude of involvement, top to bottom

— from the former President of the United States himself to individuals who briefly trespassed.




6 Police outnumber protesters at right-wing Capitol rally, BBC NEWS (Sep. 19, 2021), https://www.bbc.com/news/
world-us-canada-58612965.
7 Kyle Cheney (@kyledcheney), Twitter (Aug 3, 2023, 8:05 AM), https://twitter.com/kyledcheney/status/
1687072114359103488.
8 Andrew Zhang, Subdued crowd gathers outside Washington courthouse where Trump was arraigned, POLITICO
(Aug. 3, 2023), https://www.politico.com/news/2023/08/03/trump-indictment-courthouse-arraignment-00109643.
9 Ford Fischer (@FordFischer), Twitter (Aug 18, 2023, 11:32 PM), https://twitter.com/FordFischer/status/
1692741297717535039.

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(F)      Retribution in this case has also been accomplished before the imposition of sentence —

by the general public contributing significantly to the arrest of the individuals photographed

inside of the Capitol.10

         A substantial portion of the January 6 defendants have been identified and brought to FBI

attention through “crowdsourcing” with the public's assistance.11 Civilian groups such as

Sedition Hunters have formed to identify and report those who were involved.12 Friends,

coworkers, and even family members have reported a substantial portion of January 6

participants.13 The FBI, in turn, has provided a sense of satisfaction to those who assisted law

enforcement by arresting the identified individuals, no matter the extent of their role on January

6. Retribution, accordingly, had been accomplished through the public’s partnership with the FBI

and the DOJ— and the arrests and prosecutions that followed.



         Therefore, each of the aims of sentencing — rehabilitation, retribution, restitution,

specific deterrence, general deterrence, and even incapacitation — have been met in this

case pre-sentencing.


10 Phil Rogers, ‘Sedition Hunters' Seek to Identify Participants in Jan. 6 Capitol Attack, NBC CHICAGO
(11/24/2021), https://www.nbcchicago.com/investigations/sedition-hunters-seek-to-identify-participants-in-jan-6-
capitol-attack/2693284; Sukrit Venkatagiri, Tianjiao Yu, Vikram Mohanty, and Kurt Luther, Sedition Hunters: A
Quantitative Study of the Crowdsourced Investigation into the 2021 U.S. Capitol Attack, WWW '23: PROCEEDINGS
OF THE ACM WEB CONFERENCE 2023 (April 2023), https://dl.acm.org/doi/pdf/10.1145/3543507.3583514.

11 Researchers study the crowdsourced investigation of Jan. 6, 2021, VIRGINIA TECH (May 3, 2023), https://
liberalarts.vt.edu/news/articles/2023/05/liberalarts-crowdsourced-investigation-study.html.
12 Will Carless, After Jan. 6 riot, hundreds of identifiable people remain free. FBI arrests could take years, USA
TODAY (Mar. 2, 2023), https://www.usatoday.com/story/news/nation/2023/03/02/sedition-hunters-hundreds-jan-6-
rioters-pending-fbi-arrests/11283885002.
13 Hannah Knowles and Paulina Villegas, Pushed to the edge by the Capitol riot, people are reporting their family
and friends to the FBI, THE WASHINGTON POST (Jan. 16, 2021), https://www.washingtonpost.com/nation/
2021/01/16/capitol-riot-family-fbi; Cassidy McDonald, Dozens of Capitol rioters were turned in by childhood
friends, family members, colleagues and ex-lovers who watched them storm the building, CBS NEWS (Mar. 9, 2021),
https://www.cbsnews.com/news/capitol-riot-arrests-friends-turned-in.

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                                     V. Avoiding Sentencing Disparities

———————————————————————————————————————


         According to the Government, January 6 cases are incomparable to preceding criminal

cases, and thus exempt from fair comparison with any cases that are not January 6 cases. As

such, the Government seeks a disproportionately high sentence for all January 6 participants. The

problem with the Government’s proposition is that the Government is responsible for creating

the uniqueness of the January 6 prosecutions.



A. DOJ Approach to 2020 Political Riot Cases

         The BLM political riots of 2020, which preceded the January 6, 2021 Capitol incident by

a few months, show a glaring disparity in DOJ treatment of similarly situated defendants.14

Around 300 individuals (this is a total number from 29 states and Washington, D.C.) were

charged by the DOJ, though only for violent or serious offenses such as attempted murder, arson,

burglary, assaulting law enforcement, damaging federal property, malicious destruction of

property using fire or explosives, felon in possession of a firearm and ammunition, possession of

a destructive device, and civil disorder.15 Unlike its relentless dedication to convict January 6

participants, the DOJ decided to dismiss many of the violent charges against BLM protesters,

including charges of assaults on law enforcement.16

14 Available video footage of the 2020 riots has been collected and stored at https://riotarchive.com.


15 Press Release, Over 300 People Facing Federal Charges For Crimes Committed During Nationwide
Demonstrations, DOJ (Sep. 24, 2020), https://www.justice.gov/opa/pr/over-300-people-facing-federal-charges-
crimes-committed-during-nationwide-demonstrations.
16 James Gordon, Most Portland rioters have charges DISMISSED by US Attorney: 58 suspects of the 97 arrested
have cases scrapped, while 32 more are left pending, DAILYMAIL (May 4, 2021), https://www.dailymail.co.uk/
news/article-9540207/58-suspects-97-arrested-Portland-Oregon-cases-scrapped-32-left-pending.html.

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         i. Portland, Oregon

         In Portland, Oregon, the federal courthouse —

along with its police officers, local police department, and

surrounding neighborhood— was continuously attacked

by left-wing protesters for a sustained period lasting over

100 days.17 While the federal crimes were deliberate and

premeditated, only about 103 individuals were arrested

throughout the four-month ordeal, most for arson and

serious assaults on police officers.18 The DOJ put out a

press release on the relentless riots, saying: “violence

instigated and carried out by Antifa and other similar

groups in connection with the rioting is domestic

terrorism and will be treated accordingly.”19 Yet, the

overwhelming majority of the riot defendants had

their federal charges dismissed.20 See also Defense


17 James Gordon, Most Portland rioters have charges DISMISSED by US Attorney: 58 suspects of the 97 arrested
have cases scrapped, while 32 more are left pending, DAILYMAIL (May 4, 2021), https://www.dailymail.co.uk/news/
article-9540207/58-suspects-97-arrested-Portland-Oregon-cases-scrapped-32-left-pending.html.
18 Unlike their public searchable list of January 6 prosecutions, the DOJ does not publicize its list of Portland cases.
A collection of federal cases can be found by private individuals tracking and archiving publicly-revealed individual
case data on AntifaWatch.net. See also Seventy-four face federal charges from Portland protests, AP NEWS (Aug.
27, 2020), https://apnews.com/article/1c1901dd9c286794791dacc39b0a6727.
19 Press Release, Attorney General William P. Barr's Statement on Riots and Domestic Terrorism, DOJ (May 31,
2020), https://www.justice.gov/opa/pr/attorney-general-william-p-barrs-statement-riots-and-domestic-terrorism.
20 James Gordon, Most Portland rioters have charges DISMISSED by US Attorney: 58 suspects of the 97 arrested
have cases scrapped, while 32 more are left pending, DAILYMAIL (May 4, 2021), https://www.dailymail.co.uk/
news/article-9540207/58-suspects-97-arrested-Portland-Oregon-cases-scrapped-32-left-pending.html.; Bradford
Betz, Portland Antifa rioter charged with assaulting police has case dismissed after 30 hours community service,
FOX NEWS (Dec. 30, 2021), https://www.foxnews.com/us/portland-antifa-rioter-charged-assaulting-police-case-
dismissed-30-hours-community-service.

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Exhibit 7, Examples of 2020 Riot Case Dismissals in Portland. These dismissal decisions were

made despite the aforementioned DOJ press release calling the relentless riots “domestic

terrorism.”

        In what world would it be considered “justice” for those who committed numerous

felonious assaults, with injuries, on police officers to receive more lenient treatment than a man

who pressed his hands on a police shield? Yet that is exactly the word that the DOJ used when

dismissing the case of Joshua Warner (AKA

“Eva”). Warner was arrested three separate times

during the 2020 Portland riots for assaults on

police, resisting arrest, criminal mischief, another

assault on police, etc.21 Warner was charged

under federal law with civil disorder for

“targeting the eyes of multiple law enforcement

officers with a high-powered laser during an

August 8, 2020 riot in North Portland,” a DOJ

press release read.22 Yet, the DOJ did not pursue federal assault charges and dismissed the civil

disorder charge in exchange for just 30 hours of community service, saying it was “in the best




21 Bradford Betz, Portland Antifa rioter charged with assaulting police has case dismissed after 30 hours community
service, FOX NEWS (Dec. 30, 2021), https://www.foxnews.com/us/portland-antifa-rioter-charged-assaulting-police-
case-dismissed-30-hours-community-service.
22 Press Release, Beaverton Woman Charged with Civil Disorder After Targeting Police Officers with High-Powered
Laser, UNITED STATES ATTORNEY’S OFFICE DISTRICT OF OREGON (Sep. 3, 2020), https://www.justice.gov/usao-or/
pr/beaverton-woman-charged-civil-disorder-after-targeting-police-officers-high-powered-laser.

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interests of justice.” United States v. Warner, Case 3:20-cr-00442-HZ, ECF No. 26 (D. Or. Dec.

21, 2021).23

         This is the same Department of Justice that decided that Matthew DaSilva’s January 6

participation rendered him ineligible for deferred prosecution and ineligible for a misdemeanor

plea deal — even though his conduct on January 6 fell well below the actions of Defendant

Warner in Portland.

         Thus, even though his conduct was nowhere near the level of the Portland defendant, Mr.

DaSilva will live out his life as a convicted felon, while the person who assaulted and seriously

endangered the eyesight of multiple police officers in Portland (then came back two additional

times after being arrested to commit more crimes) walked away above reproach.

         Adding insult to injury, the small handful of individuals who were actually convicted of

their federal crimes in Portland received significant leniency from the DOJ at sentencing. For

example, after securing a conviction for Kevin Benjamin Weier for the felonious depredation of

Government property for the act of setting fire to the Portland federal courthouse— a felony

                                              offense punishable by up to 10 years in prison, a $250,000

                                              fine, and three years supervised release— the

                                              Government filed a five-page, bare-bones sentencing

                                              memorandum that asked to sentence the defendant to a

                                              one-year term of probation. See United States v. Weier,

                                              Case No. 3:20-cr-00263-IM, ECF No. 39, *5 (D. Or. Nov.




23 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.ord.155702/gov.uscourts.ord.155702.26.0.pdf.

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10, 2021).24 For perspective, compare the DOJ’s request for Mr. Weier to the sentence requested

for January 6 defendant Michael Stepakoff, a rabbi who was convicted of a petty misdemeanor

for walking into the Capitol on January 6, shaking hands with a police officer, thanking him for

his service, and walking out after only 5 minutes inside the building — “14 days in custody

followed by three years’ probation, 60 hours of community service and $500 in restitution.” See

United States v. Stepakoff, 1:21-cr-00096-RC, ECF No. 36, *27 (D.D.C. January 11, 2022).25 In

Mr. DaSilva’s case, the Government has already hinted that they will be seeking a sentence of

about 3 years of imprisonment to be served fully in prison. Unlike Mr. Weier’s acts of arson, Mr.

DaSilva’s conduct resulted in no injuries and no permanent damage and did not endanger

anyone’s life.

         Furthermore, Mr. Weier’s probation recommendation for a felony arson offense was

agreed to via plea agreement which did not reserve the right for the DOJ to seek a terrorism

enhancement even though the described activity was deemed terrorism by the Attorney General.

See United States v. Weier, Case No. 3:20-cr-00263-IM, ECF No. 35 (D. Or. Aug. 19, 2021). Yet,

all felony plea offers made to January 6 defendants, even Class 1 misdemeanor plea agreements

for some of the nonviolent January 6 trespassers, reserve the option for the DOJ to attempt to

seek an upward departure for terrorism under U.S.S.G. § 3A1.4, n. 4. See, e.g., United States v.

Kuehne, Case No. 1:21-cr-160-TJK, ECF No. 197, *4 (D.D.C. Sep. 7, 2023)26; United States v.



24 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.ord.153765/gov.uscourts.ord.153765.39.0.pdf.
25 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.dcd.227275/gov.uscourts.dcd.227275.36.0.pdf.
26 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.dcd.228126/gov.uscourts.dcd.228126.197.0.pdf.

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Cudd, Case No. 1:21-cr-68-TNM, ECF No. 75, *4 (D.D.C. Oct. 13, 2021).27 While Mr. DaSilva

never received plea paperwork from the Government, the paperwork would have been the

standard plea paperwork offered to all January 6 defendants which reserved the DOJ’s right to

seek a terrorism enhancement.



ii. Seattle, Washington

         In Seattle, BLM protests led to similar arson and violence as in Portland — with similar

commiseration from the DOJ.

         While the destruction in Seattle during the summer riots was extensive, only two

defendants were federally charged for their conduct.28 (Additional riots in Seattle took place in

later months and are discussed separately, infra).




         The first Government sentencing memorandum filed in these cases was for a woman

charged with felony arson of five police vehicles. The Government memo revealed how the DOJ

27 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.dcd.227066/gov.uscourts.dcd.227066.75.0_1.pdf.
28 Amy Radil, These are the people who face criminal charges in Seattle after the protests, KUOW (Jul. 9, 2020),
https://www.kuow.org/stories/who-faces-criminal-charges-related-to-seattle-area-protests-here-s-a-roundup.

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viewed the progressive BLM protest in Seattle: “an important cause” that “should have been an

inspiring event” with an “important message.” See United States v. Channon, Case No. 2:20-

cr-00129-JCC, ECF No. 76 (W.D. Wash. Feb 8, 2022).29

         The second sentencing memorandum that the Government filed for these cases was for a

man accused of bringing a firearm to the BLM protest with the intent to kill police officers — he

was arrested after throwing a 16-ounce can of beer through the window of a police cruiser and

striking an officer in the face. In this memo, the

Government described the BLM riot that resulted in

millions of dollars in property damage in Seattle as “a

peaceful but volatile protest.” See United States v.

Parker, Case No. 2:20-cr-00084-RSM, ECF No. 116

(W.D. Wash. Jun. 2, 2023).30 (It’s almost as if the DOJ

chose such language to taunt conservatives, who were

outraged at CNN for referring to the arsonous BLM

riots in Kenosha, Wisconsin as “firey but mostly

peaceful.”31)


29 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.wawd.288533/gov.uscourts.wawd.288533.76.0.pdf.
30 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.wawd.287719/gov.uscourts.wawd.287719.116.0.pdf.
See also Katherine Anne Long and Paul Roberts, Downtown businesses assess damage, weigh reopening after nights
of riots, looting and chaos, THE SEATTLE TIMES (May 31, 2020), https://www.seattletimes.com/business/local-
business/downtown-businesses-assess-damage-weigh-reopening-after-nights-of-looting-and-chaos; Claire Sprang,
Seattle To Pay $3.6 Million in Damages to Businesses Over 2020 BLM Riots, THE WASHINGTON FREE BEACON
(Feb. 22, 2023), https://freebeacon.com/democrats/seattle-to-pay-3-6-million-in-damages-to-businesses-over-2020-
blm-riots.
31 See Joe Concha, CNN ridiculed for ‘Fiery But Mostly Peaceful’ caption with video of burning building in
Kenosha, THE HILL (Aug. 27, 2020), https://thehill.com/homenews/media/513902-cnn-ridiculed-for-fiery-but-
mostly-peaceful-caption-with-video-of-burning.

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         In comparison, the rally on January 6 has only been described by the DOJ in sentencing

memoranda as “a violent attack” and “a large and violent riot.” See, e.g., United States v. Cudd,

Case No. 1:21-cr-68-TNM, ECF No. 90, *1-2 (D.D.C. March 16, 2022).32 The Government has

never, in any pleading known to undersigned counsel, made any sympathetic statements in

commiseration with the underlying non-criminal protest on January 6 outside of the Capitol— a

protest that could technically also be described as an “important cause” that “should have been

an inspiring event.” The hundreds of thousands of January 6 protesters who came to DC to

protest election integrity on January 6 or to support their political candidate, who they earnestly

believed had won the 2020 election, and who remained outside the Capitol and broke no laws —

were not given any credit by the Government in the way that credit was given by the DOJ to

non-criminal protesters in Seattle.33 January 6 has never been described by any DOJ prosecutor

as “a peaceful but volatile protest,” even though, under the Government’s own logic, it certainly

could have received such adoration.




32 Also available at:
https://storage.courtlistener.com/recap/gov.uscourts.dcd.227066/gov.uscourts.dcd.227066.90.0.pdf.
33 See, e.g., Jenni White, What I Saw At The ‘Save America Rally’ In Washington, DC On Jan. 6, The Federalist (Jan.
11, 2021), https://thefederalist.com/2021/01/11/what-i-saw-at-the-save-america-rally-in-washington-dc-on-jan-6
(“There were hundreds of thousands of people all standing together peacefully in one spot for more than five hours.
A small percentage of this group entered the capitol and perpetrated mayhem while hundreds of thousands were
peacefully milling around outside. Video of the event shows other attendees remonstrating with some who broke
windows or stood on statues, telling them to stop.”).

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         iii. Minneapolis, Minnesota

         Perhaps the most startling disparity of all can be seen in a memorandum filed by the

Government in the District of Minnesota, where hundreds of

BLM rioters engulfed Minneapolis in flames— burning

homes, businesses, and even people.

         On May 28, 2020, in the middle of a BLM riot, a

convicted felon, who was on probation at the time, set fire to

a pawn shop, saying: “Fuck this place. We’re gonna burn this

bitch down.” United States v. Lee, Case No. 0:20-cr-00168, ECF

No. 67, *2 (D. Minn. Nov. 4, 2021).34 A 30-year-old man was

burned to death in that fire. Id. at *3.

         In its sentencing memorandum, the DOJ brazenly

excused the homicide— “[the defendant] appears to have

believed that he was, in Dr. King’s eloquent words, engaging in

‘the language of the unheard.’” Id. *9. The Government’s memo did not attempt to resolve the

issue of how the defendant’s words at the time of the offense were entirely inconsistent with his

post-arrest political explanations. Instead, citing Dr. Martin Luther King, Jr., the Government

requested a downward departure from the Guidelines, seeking half of the Guidelines sentence for

the homicide. Id. *7, 12. The Government’s sentencing memorandum read more like that of a

defendant’s, with the DOJ advocating on behalf of the felon, sympathizing with his alleged

political views, and justifying his allegedly political actions.

34 Also available at
https://storage.courtlistener.com/recap/gov.uscourts.mnd.189358/gov.uscourts.mnd.189358.67.0_2.pdf.

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        iv. Washington, D.C.

        In May 2020, BLM protesters set fires around the

White House, caused the President to retreat to a bunker, and

clashed with federal law enforcement for days on end.35

Depicted in the video released by the Department of the

Interior, protesters were pushing police shields, assaulting

federal officers, and disobeying orders.36 CNN televised

protesters tugging a protective barrier away from federal

officers.37 None of these individuals were investigated or

charged for their conduct. But January 6 defendants who

committed the same acts were investigated, arrested, and

charged.38

        On May 31, 2020, then-Attorney General William

Barr announced that “violent radical agitators” from the

BLM protests in D.C. would be investigated and charged.39

Indeed, the DOJ apprehended and charged individuals for

35 Secret Service Statement on Pennsylvania Avenue Demonstrations, UNITED STATES SECRET SERVICE, (May 31
2020), https://www.secretservice.gov/newsroom/releases/2020/05/secret-service-statement-pennsylvania-avenue-
demonstrations-0; Shawn McCreesh, Protests Near White House Spiral Out of Control Again, THE NEW YORK
TIMES (May 31 2020), https://www.nytimes.com/2020/05/31/us/politics/washington-dc-george-floyd-protests.html.
36 Department of the Interior Press Secretary (@DOIPressSec45), Twitter (Jun 24, 2020, 1:53 PM), https://
twitter.com/DOIPressSec45/status/1275849473701433345.
37 Andy Ngô (@MrAndyNgo), Twitter (May 30, 2020, 1:30 AM), https://twitter.com/MrAndyNgo/status/
1266602847182786567.
38 See, e.g., United States v. DaSilva, Case No. 1:21-cr-00564, ECF No. 48 (D.D.C. May 19, 2023).


39 Press Release, Attorney General William P. Barr’s Statement on Riots and Domestic Terrorism, U.S.
DEPARTMENT OF JUSTICE (May 31, 2020), https://www.justice.gov/opa/pr/attorney-general-william-p-barrs-
statement-riots-and-domestic-terrorism.

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acts of bank robbery, bank burglary, arson at the Supreme Court, Molotov cocktail attacks on

police, and attacks on the Lincoln Memorial.40 The January 6 investigation, on the other hand,

was not limited to “violent radical agitators.” Instead, on January 7, 2021, Christopher Wray

announced the investment of the full resources of the FBI into an indiscriminate search of “those

involved” in January 6 misconduct, irrespective of nonviolence or the severity of an individual’s

involvement.41 The result is that two-thirds of the individuals arrested for January 6 participation

were charged with only nonviolent conduct.42




         The overt disparity between the Government’s choice to only pursue violent agitators

from left-wing protests, and yet all individuals from the January 6 protest, yields an unavoidable

conclusion: had a January 6 protester committed certain acts in the middle of a BLM protest he


40 See United States v. DaSilva, Case No. 1:21-cr-00564, ECF No. 59, *9 (D.D.C. Jun. 9, 2023).


41 FBI Press Release, Director Wray’s Statement on Violent Activity at the U.S. Capitol Building (Jan. 7, 2021), FBI,
https://www.fbi.gov/news/press-releases/director-wrays-statement-on-violent-activity-at-the-us-capitol-
building-010721.
42 See 32 Months Since the Jan. 6 Attack on the Capitol, U.S. DEPARTMENT OF JUSTICE (Sep. 6, 2023), https://
www.justice.gov/usao-dc/32-months-jan-6-attack-capitol.

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would have gotten off scot-free, but because he committed such acts in the middle of a Trump

protest he was charged. That political discrepancy is very troubling.

       As is stated in Mr. DaSilva’s Reply on his Motion to Dismiss based on Selective

Prosecution, the Government’s memorandum in opposition affirms that had Mr. DaSilva

pushed on a police shield during a left-wing protest in front of the White House in May

2020, he would not have been prosecuted. See ECF No. 60. Indeed, angry protesters pushed

against police shields during the May 2020 protests in front of the White House. They were not

charged for their conduct.




       The difference between a felony conviction and a non-prosecution for the same conduct

has to feel gutting for a defendant sitting in a D.C. jail cell, awaiting sentencing.

       As discussed in ECF No. 48 and 60, prior to January 6 of 2021, the Government has

never charged any protester for pushing against a police riot shield — ever — not even once.




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       v. DOJ’s Disparate Treatment of January 6 Participants Requires Consideration of

Non-prosecuted Cases

       The Government’s disparate treatment of the January 6 protesters, as compared to the

BLM and other 2020 protesters — as well as the DOJ’s cherry-picked view on the righteousness

of only certain kinds of political riots — provides much-needed context to the otherwise

incomparable arrests and sentencing requests for January 6 defendants, including the anticipated

disproportionately high sentence the request the Government will make for Mr. DaSilva. Had the

DOJ treated all riots in the same manner and prosecuted all rioters similarly, this sentencing

memo would have been a lot more simplistic. But alas, the DOJ has forced this argument.

       The DOJ’s deliberate omission from federal prosecution of BLM protesters is how the

Government justifies the claim that January 6 participants could only be compared to other

January 6 participants for purposes of criminal penalty imposition. Indeed, there are very few

cases to compare to the January 6 defendants under 18 U.S.C. § 3553(a), which asks the Court to

compare sentences of defendants found guilty of “similar conduct.” The reason is that the DOJ

has caused this disparity by only having prosecuted certain conduct when it was done by the

January 6 defendants — by intentional choice.

       In Mr. DaSilva’s case, an entire class of individuals who pushed on police shields during

protests were deliberately omitted from sentencing comparables. But as we learned from the

logic of Wickard v. Filburn, 317 U.S. 111 (1942), a deliberate decision not to do something

can create a legally significant and substantial impact through that inaction. The discussion

supra illustrates the Government’s clear decision not to prosecute or to dismiss various offenses




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from other political protests that plagued the country in 2020. But as a result, an entire class of

politically-motivated criminal defendants was omitted from sentencing comparables.

       Accordingly, a question can be posed: does the DOJ’s decision not to charge BLM

protesters for pushing on police shields “exert a substantial effect” on the comparable

sentencing cases available to this court? (To borrow phrasing from Wickard). The inevitable

answer, as we have explored here, is — yes. See also United States v. Griffin, 549 F. Supp. 3d 49,

59 (D.D.C. 2021) (“Disparate charging decisions in similar circumstances may be relevant at

sentencing.”) United States v. Sandlin, 575 F. Supp. 3d 16 (D.D.C. 2021) (citing Griffin for the

same proposition); United States v. Judd, 579 F. Supp. 3d 1 (D.D.C. 2021) (same); United States

v. Robertson, 588 F. Supp. 3d 114 (D.D.C. 2022) (same).

       The defendant thus asks this Court to consider his conduct in the context of the BLM

protests of 2020 and the dismissal or non-prosecution dispositions of those cases in order to

render a fair sentence.



B. Considering the DOJ’s Recommendation in the Context of Other Riot Sentencings

       The Government has indicated that it will seek a sentence in the range of 33-41 months

for Mr. DaSilva, for the act interpreted as pushing and pulling on a police shield. See ECF No. 91

at *19. It is important to place this range into context.

       As explained supra, there are very few protest cases that have comparable conduct —

none exactly similar that can be compared to the actions of Mr. DaSilva. The Defense,

accordingly has to discuss comparables from the perspective of much more serious cases in order

to illustrate the scope of an appropriate penalty.


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        i. Comparison to a Case with a Similar Sentence Request

        In the recently sentenced Seattle BLM protest case of United States v. Justin Christopher

Moore, the Government requested a sentence of 41 months for a man who plotted to burn the

Seattle Police Officers Guild building in downtown Seattle and admitted to making and carrying

a box of 12 Molotov cocktails to a September 2020 BLM protest in furtherance of his plan.43 See

United States v. Moore, 2:22-cr-00013-LK-1, ECF No. 52 (W.D. Wash. Aug. 23, 2023). The

reason for the 41-month sentence request was that “Moore’s offense was extremely dangerous

and created a substantial risk of injury to numerous bystanders… Moore carried the box of

twelve Molotov cocktails in a crowd of over 1,000 people who were participating in the protest

march. All of them were in harm’s way if one of the devices had exploded.” Id. at *3. But that’s

not all. “[T]he evidence recovered at Moore’s residence revealed his broader involvement with

explosive devices and emphasized that he was a dangerous and volatile actor… Moore also

characterized himself in the notebook as, among other things, ‘borne [sic] to kill . . . that is what

I am. I am a killer. I have killed.’” Id. at *5. Mr. Moore was ultimately sentenced to 40 months in

prison by the Court.

        In comparison, Matthew DaSilva put his hands on a police shield during a riot in front of

the Capitol, then came home to his wife and cried her arms wishing he hadn’t done that.

        Mr. DaSilva’s conduct and character may as well be on another planet. Yet, the

Government has the audacity to request a similar sentence for both men. The Government’s

sentencing memo in the Moore case implies that politics is the reason for the discrepency. The



43 Renton, Washington, man pleads guilty to unlawful possession of destructive devices, U.S. ATTORNEY’S OFFICE
WESTERN DISTRICT OF WASHINGTON (Sep. 22, 2022), https://www.justice.gov/usao-dc/32-months-jan-6-attack-
capitol.

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DOJ described the left-wing protest as a “gathering[] in protest of police brutality … support for

important causes involving equal justice.” United States v. Moore, 2:22-cr-00013-LK-1, ECF No.

52, *1 (W.D. Wash. Aug. 23, 2023). (As discussed earlier, the DOJ has no warm words to give

the protest in front of the Capitol.) The DOJ simply has a bias.

        Of note — the DOJ’s characterization of the Seattle protest is particularly incongruent

with how the Seattle Police Department described it in their Blotter. The police department

described a day on which officers were pelted with rocks, bottles, and explosives and 22 people

were arrested for acts of arson, assault, obstructing, and failure to disperse.44




        ii. Comparison to a Case with a Similar Charge

        For the most important context in sentencing Mr. DaSilva, this Court should consider the

case of United States v. Christian Rea, a man who intentionally threw a firework at a group of



44 22 Individuals Arrested During Labor Day Demonstration, SPD BLOTTER (Sep. 7, 2020), https://
spdblotter.seattle.gov/2020/09/07/22-individuals-arrested-during-labor-day-demonstration.

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police officers at a Naperville, Illinois BLM protest in June of 2020.45 Several officers suffered

injuries as a result of his assault on police, but Mr. Rea was only charged with one count of Civil

Disorder. See United States v. Rea, Case: 1:20-cr-00316, ECF No. 55, *3 (N.D. Ill. Dec 15,

2021). This charging decision led to a Guidelines Level of 10, with a Sentencing Range of 6-12

months. Id. at *6. Of note — the Government decided that an assault on officers with a lit

firework, that resulted in multiple bodily injuries, was an obstructive impediment under

U.S.S.G. §2A2.4, not an aggravated assault under U.S.S.G. §2A2.2. Id.

        More interestingly, what the DOJ omitted from its filings in the Rea case, even from the

Government’s sentencing memo, was the permanent serious injury of one of the officers attacked

by Mr. Rea. See United States v. Rea, Case: 1:20-cr-00316, ECF No. 65, (N.D. Ill. May 9, 2022).

According to the District Judge’s findings at sentencing, “Mr. Rea threw a lit commercial

firework toward a group of police officers during a protest, resulting in several serious injuries,

including one officer having permanent hearing loss.”46 (Emphasis added). The Judge applied

U.S.S.G. §2A2.4, and Mr. Rea was ultimately sentenced to 12 months for what he did to those

officers.

        Mr. DaSilva’s Sentencing Guidelines, as calculated by the defense, call for a sentence of

12-18 months. Considering the nature of Mr. DaSilva’s actions in the context of the Rea

sentence, a sentence within the Guidelines range would be disproportionately high. As compared

to Mr. Rea, who injured multiple officers by throwing an explosive device at them, Mr. DaSilva


45 Man Sentenced to a Year in Federal Prison for Throwing Incendiary Device at Police in Chicago Suburb, UNITED
STATES ATTORNEY’S OFFICE NORTHERN DISTRICT OF ILLINOIS (May 25, 2022), https://www.justice.gov/usao-ndil/
pr/man-sentenced-year-federal-prison-throwing-incendiary-device-police-chicago-suburb.
46 Letter from Hon. Thos. M. Durkin, U.S. Dist. J., to U.S. Sentencing Comm’n (May 25, 2022), https://
www.ussc.gov/sites/default/files/pdf/amendment-process/public-comment/20221017/judge-durkin.pdf.

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pushed on a police shield and did not cause any injuries, certainly none that were permanent. Mr.

DaSilva’s conduct never posed the level of danger that was posed by the actions of Mr. Rea. The

sentences of the two men should proportionately reflect the nature of their actions. Accordingly,

Mr. DaSilva’s penalty should be lower than that of Mr. Rea.



C) Comparison to Other January 6 Defendants

       The Government outlined some January 6 cases that it believes are factually comparable

to that of Mr. DaSilva in ECF No. 59 at *4. Three of these cases indeed pose similarities and

have resulted in sentences that should be considered in sentencing Mr. DaSilva.



       i. Sentences of January 6 Defendants Who Were Convicted at Trial for Pushing, Pulling,

or Grabbing Riot Shields

       On October 16, 2023, in the case of United States v. Wren, Judge Walton applied U.S.S.G.

§ 2A2.4 instead of § 2A2.2 to a defendant convicted at trial of both § 111(a) and § 231, as well as

one misdemeanor offense. See United States v. Wren, 1:21-cr-00599-RBW (docket entry not yet

available). On January 6, 2021, Mr. Wren pushed

back against the police line by placing his hands

on an officer’s shield and leaning all his weight

into the riot shield, preventing the police officer

from advancing forward. Mr. Wren’s actions

then instigated a fight between rioters and police

attempting to clear the area, according to the


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Government.47 Mr. Wren was sentenced to 12 months and one day in jail for his conduct,

followed by 24 months of supervised release and a fine. He was not ordered to pay restitution.

The conduct of Mr. Wren was similar to, but more serious than, that of Mr. DaSilva.

        The Defense is not aware of any other cases that were sentenced after a trial with similar

conduct.



        ii. Sentences of January 6 Defendants Who Pleaded Guilty After Having Pushed, Pulled,

and Grabbed a Riot Shield



1. United States v. Ronnie Presley, 1:21-cr-000257-RDM: Mr. Presley both entered the Capitol

    Building and engaged with officers trying to stop rioters from entering. Mr. Pressley is

    described by the Government as grabbing an officer’s shield and pulling it as the officer

    guarded the entry doors to the Capitol. Mr. Presley was indicted with a count of 18 U.S.C. §

    231(a)(3) as well as 18 U.S.C. § 1512(c)(2), in addition to misdemeanor offenses for the

    same conduct. He was not indicted under § 111(a). This case presented facts more serious

    than those in Mr. DaSilva’s case, as Mr.

    DaSilva did not actually pull a shield away

    from an officer and did not enter the

    Capitol Building — nor was Mr. DaSilva

    charged with § 1512(c)(2). The



47 Press Release, Two Men from Mississippi and Alabama Sentenced for Actions During Jan. 6 Capitol Breachtions,
DOJ (Oct. 16, 2023), https://www.justice.gov/usao-dc/pr/two-men-mississippi-and-alabama-sentenced-actions-
during-jan-6-capitol-breach.

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    Government agreed that Mr. Pressley should be sentenced pursuant to U.S.S.G. § 2A2.4.48

    See United States v. Presley, 1:21-cr-000257-RDM, ECF No. 40 *3 (D.D.C. Jul. 28, 2022).

    He received a sentence of 12 months’ incarceration, 26 months’ supervised release, and

    $2,000 of restitution.



2. United States v. Luke Michael Lints, 1:22-cr-259-TNM: Mr. Lints obtained a police riot

    shield and used it to push back against a law enforcement officer who was also holding a

    shield. Lints also used his shield to prevent an

    officer from closing a door to create a barrier

    between the rioters and law enforcement. While

    Mr. Lints was indicted for civil disorder, he was

    not indicted under § 111(a).

    The facts of Mr. DaSilva’s

    case are less egregious

    than those of Mr. Lints’.

    The Government,

    nonetheless, decided that

    Mr. Lints should be

    sentenced pursuant to




48 Of note— Mr. DaSilva was not offered a plea of this nature. Every plea offered to Mr. DaSilva included an
aggravated assault component with a required Guideline computation range under U.S.S.G. § 2A2.2, yielding a
sentence recommendation that would be more than double that of the one for Mr. Presley.

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    U.S.S.G. § 2A2.4.49 United States v. Lints, 1:22-cr-259-TNM, ECF No. 40 (D.D.C. Feb. 24,

    2023). Mr. Lints was sentenced to 4 months’ incarceration, 4 months’ home detention, 36

    months’ supervised release, and $2,000 in restitution.



3. United States v. Bernard Joseph Sirr, 1:22-cr-259-TNM: Mr. Sirr pleaded guilty to 18 U.S.C.

    231(a)(3) for being inside the tunnel for an extended period of time, pushing back on officers

    together with a group, and at one point pushing on riot shields.50 The fact pattern of this case

    most closely resembles that of Mr. DaSilva. But while Mr. Sirr was indicted for civil

    disorder, he was not indicted under § 111(a). The DOJ agreed that the Sirr case should be

    sentenced pursuant to U.S.S.G. § 2A2.4. See United States v. Sirr, 1:22-cr-259-TNM, ECF




49 Of note— Mr. DaSilva was not offered a plea of this nature. Every plea offered to Mr. DaSilva included an
aggravated assault component with a required Guideline computation range under U.S.S.G. § 2A2.2, yielding a
sentence recommendation that would be more than double that of the one for Mr. Lints.
50 Of note— Mr. DaSilva was not offered a plea of this nature. Every plea offered to Mr. DaSilva included an
aggravated assault component with a required Guideline computation range under U.S.S.G. § 2A2.2, yielding a
sentence recommendation that would be more than double that of the one for Mr. Sirr.

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    No. 37 *3 (D.D.C. Jan. 27, 2023). Mr. Sirr was sentenced to 2 months’ incarceration, 12

    months’ supervised release, and $2,000 restitution.



       iii. Disparate Charging Decision and Treatment of Matthew DaSilva

       Mr. DaSilva’s conduct is in no way more egregious or more assaultive in nature than that

of the three January 6 defendants described above. Yet, Mr. DaSilva was charged with § 111(a),

assault, while the others were not. The actions of the defendants did not present disparity

warranting for Mr. DaSilva to face higher charges. The original charging decisions and the

disparity in the charges for this group of defendants are inexplicable. There is no reason why Mr.

DaSilva was charged with assault while the others were not.

       And, as noted for each comparison case, the plea offer extended to those defendants was

not offered to Mr. DaSilva. Although Mr. DaSilva requested plea offers of this nature, the only

offers that the “supervisors” would approve for Mr. DaSilva were ones forcing agreement to

U.S.S.G. § 2A2.2, for an aggravated assault guideline that required admission to having the

intent to commit another felony. The DOJ specifically declined defense counsel’s offers for Mr.

DaSilva to plead guilty to an offense with an agreed-upon Guideline of U.S.S.G. § 2A2.4, which

would have resulted in the completion of this case in the year 2022. The Government also

rejected undersigned counsel’s offers to plead guilty without an agreement on Guidelines and

rejected defense counsel’s offer for a stipulated trial instead of a plea, where guidelines can be

determined by the judge. Mr. DaSilva, through his counsel, engaged in extensive attempts to

negotiate a fair plea but the DOJ remained impenetrable on the issue of U.S.S.G. § 2A2.2. A trial

was all that Mr. DaSilva had as an option to fairly resolve his case.


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       There is no legal or factual basis

on which to distinguish Mr. DaSilva’s

case from that of Mr. Sirr. There is no

reason to believe that Mr. DaSilva’s

conduct is more aggravated than that of

Mr. Lints. And surely there is no reason to

believe that Mr. DaSilva engaged in

conduct less deserving of sentencing

under U.S.S.G. § 2A2.4 than Mr. Pressley.

The DOJ’s disparate treatment of Mr.

DaSilva’s case is simply inexplicable.

       While the Court cannot force the

DOJ to offer equitable plea agreements to

defendants, this Court can consider the

disparate treatment of each defendant at

sentencing, as well as the Government’s

nonsensical requests for the application of

higher sentencing Guidelines for certain

defendants without a legal basis or factual basis for doing so. Aside from the Government’s claim

that Mr. DaSilva committed an aggravated assault, there is no evidence to substantiate it. This

Court in fact acquitted Mr. DaSilva of the aggravated assault at trial.




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       To sentence Mr. DaSilva under U.S.S.G. § 2A2.2 for the same or even lesser conduct

than similarly situated defendants have been sentenced under U.S.S.G. § 2A2.4 would yield an

unwarranted, unjust, and unfair sentencing disparity.

       Mr. DaSilva does not deserve a penalty higher than that of Mr. Sirr and Mr. Lints,

certainly not one higher than Mr. Presely. Already, Mr. DaSilva has served a penalty higher than

that of Mr. Sirr. That is why the defense argues that no additional time is warranted.

       Moreover— this Court can give Mr. DaSilva a 2-level reduction under U.S.S.G. § 3E1.1,

n.2, which states that “a defendant may clearly demonstrate an acceptance of responsibility for

his criminal conduct even though he exercises his constitutional right to a trial.” See also

Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978) (punishing a person “because he has done

what the law plainly allows him to do is a due process violation of the most basic sort”).

       Mr. DaSilva’s pretrial attempts to plead guilty and his pretrial self-rehabilitation

measures, as well as a lack of opportunity/offer to enter into a pretrial plea to a non-aggravated

offense, qualifies Mr. DaSilva for this Court’s consideration of the application of an acceptance

of responsibility credit pursuant to U.S.S.G. § 3E1.1. The following factors weigh in favor of

applying the reduction:

         • Mr. DaSilva reached out to the DOJ numerous times before trial to attempt to reach a

           plea deal.

         • Every time, he was only offered a deal that included the requirement that he admit to

           having possessed the intent to commit a felony offense — thus, only offered an

           aggravated assault plea — even though the government offered a Civil Disorder plea

           deal in at least three other January 6 shield-pushing cases that contained more serious


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           allegations. See United States v. Presley, 1:21-cr-000257-RDM, ECF No. 40 (D.D.C.

           Jul. 28, 2022); United States v. Sirr, 1:22-cr-259-TNM, ECF No. 37 (D.D.C. Jan. 27,

           2023); United States v. Lints, 1:22-cr-259-TNM, ECF No. 40 (D.D.C. Feb. 24, 2023).

         • Mr. DaSilva did not commit an aggravated assault, did not have such intent, and thus

           could not enter the pleas offered to him. And, after a trial, the court acquitted Mr.

           DaSilva of an aggravated felony, of possessing the intent to commit another

           felony.

         • For the duration of an entire year before the trial, Mr. DaSilva engaged in behavioral

           therapy sessions to address and rectify his conduct; and, has demonstrated a positive

           change to his character post-therapy. See Defense Exhibits 1 and 6.

         • Mr. DaSilva then made a strong statement post-trial, accepting responsibility for his

           actions.

       The reduction under U.S.S.G. § 3E1.1 would yield a lower sentencing range, with an

offense level of 11 and a sentencing range of 8-14 months in Zone B. This sentencing range,

however, is still higher than the sentence appropriate for Mr. DaSilva. Mr. DaSilva, therefore,

moves for a downward departure.



                             VI. Motion for Downward Departure

———————————————————————————————————————


       Based on all the arguments in this memorandum, a downward departure from the

Guidelines Recommendation is warranted in this case for six main reasons:



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1) in order to balance the inequities resulting from the Government’s charging decisions and the

    Government’s plea offers and dismissals in 2020 protest cases and in other January 6 cases;

2) in order to achieve a sentence commensurate with sentences ordered in other cases for

    similar conduct and even more serious criminal conduct;

3) in consideration of the Defendant’s genuine remorse, acceptance of responsibility, and

    significant rehabilitative efforts for a period lasting one full year prior to his conviction;

4) in consideration of the difficulties and challenges experienced by the defendant in his

    childhood and the effects of his upbringing on his psyche, (see PSR),

5) in consideration of the Defendant’s age and clean criminal history for a period of 51 years;

    (see United States v. Ward, 814 F. Supp. 23, 24 (E.D. Va. 1993)); and,

6) in consideration of Mr. DaSilva’s superb moral character that was exhibited in his everyday

    life for 51 years, to the complete exception of the one day for which he stands before this

    court.



                         VII. Appropriate Sentence for this Defendant

———————————————————————————————————————


       Considering Matthew DaSilva’s character and clean record, his age, his significant efforts

at self-rehabilitation, the downward departure factors outlined in the PSR, and the facts of his

case in light of other January 6 riot shield cases and the Government's position on and treatment

of the BLM protest cases, a reasonable penalty (in addition to the already-imposed penalty of a

conviction with a criminal record, 2-year-long pretrial supervision, and post-verdict



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incarceration) is a sentence of 3 months of incarceration. This would amount to time served. Yet

this is the equitable penalty in light of the arguments presented by the defense. The defendant’s

recommendation is a downward departure from the Guidelines computation. As articulated

herein, the departure is warranted and well-grounded.

       The sentence recommended by the defense is sufficient, but not greater than necessary, to

comply with the purposes set forth in 18 U.S.C. § 3553(a), is supported by the facts and the law,

and falls within the limitations placed on this Court by Congress and the Eighth Amendment.


                                              Respectfully submitted,
                                              By Counsel:
                                                     /s/
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on October 18, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.
                                                      /s/
                                              Marina Medvin, Esq.




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